Case 2:04-Cr-20309-BBD Document 57 Filed 08/23/05 Page 1 of 5 PagelD 48

UN|TED STATES DlSTRlCT COURT
WESTERN DlSTRlCT OF TENNESSEE Ftl.ED BY _. D.C.
MEMPH|S DlVlSlON
05 AUG 23 PH 3= 17

UNITED STATES OF AMEF|ICA

THOM§S M. GOU£D
-v- 2:04c320309-01-o CLEHK tl$. jith t_CT COUHT

ritz ij i-_:;itij‘rlis
RoBERT LoRD

Lee Gerald, CJA

Defense Attorney

8 South Third Street, 4‘h F|oor
Memphis, TN 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 and 2 of the indictment on Aprii 19, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

 

Date Count
Tit|e & Section Nature of Of'fense Offense Number(sj
Concluded
18 U.S.C. § 922(g) Felon in Possession of Firearms 07/16/2004 1, 2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fteform Act of 1984 and the Mandatory
Victims Ftestitution Act of 1996

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 09/13/1964 August 17, 2005
Deft's U.S. Marshal No.: 10946-014

Defendant’s Mailing Adclress:
3754 Fiidgmont Cove
Memphis, TN 38128

  

 

 

BEFiN CE B. DONALD
UN|TED STATES DlSTFi|CT JUDGE

August£&£¢zé, 2005

This document entered on the'docket sheet ln compliance
With Ftu|e 55 and/or 32(|:)} FFlCrP on ' 0

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Case No: 2:04CFi20309-01-D Defendant Name: Ftobert LOFlD Page 2 of 4

|MPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 15 Months.

The Court recommends to the Bureau of Prisons:
that the defendant be housed in a facility as near to Oca|a, F|orida as possible

The defendant shall surrender for service of sentence at the institution designated by the
Bureau ot Prisons as notified by the United States Marsha|.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. N|arshal

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Case No: 2:04CR20309-01-D Defendant Name: Ftobert LOFtD Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 2 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at teast two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPEF!V|S|ON

1. The defendant shall not leave thejudiclal district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic or othercontrolled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are ii|egaily soldl used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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'IO.

11.

12.

13.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law

enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such

notification requirement

lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set

forth in the Criminal Monetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised reiease:

The defendant shall cooperate in the collection of DNA as directed bythe Probation Officer;
The defendant shall participate in drug testing and treatment as directed by the Probation

Officer;

The defendant shall participate in mental health treatment as directed by the Probation

Officer;
The defendant shall undergo anger management counseling;
The defendant shall be prohibited from any communication with Mr. Hoshali.

CRIM|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, uniess the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Ftestitution
$200.00

 

 

The Special Assessment shall be due immediately

FlNE
No fine imposed

REST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CR-20309 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Lee Hovvard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

Memphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

